                   Case 21-30275-JPS                       Doc 26       Filed 01/31/22 Entered 01/31/22 15:50:55                                 Desc
                                                                            Page 1 of 1
                                                           Form 1
                                       Individual Estate Property Record and Report                                                                   Page: 1

                                                        Asset Cases
Case No.:    21-30275                                                                      Trustee Name:      (300650) Courtney M. Davis
Case Name:        Baker, Janice Lucille                                                    Date Filed (f) or Converted (c): 05/28/2021 (f)
                                                                                           § 341(a) Meeting Date:       07/02/2021
For Period Ending:        12/31/2021                                                       Claims Bar Date:

                                   1                               2                      3                      4                   5                    6

                           Asset Description                    Petition/         Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)      Unscheduled        (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                 Values                 Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                           and Other Costs)

    1       2017 Nissan Altima, 60,000 miles                     15,350.00                         0.00                                   0.00                         FA

    2       Household Goods and Furnishings                            800.00                      0.00                                   0.00                         FA

    3       Electronics                                                800.00                      0.00                                   0.00                         FA

    4       Used Clothing                                              800.00                      0.00                                   0.00                         FA

    5       Costume Jewelry                                            100.00                      0.00                                   0.00                         FA

    6       Checking: Truist                                             0.00                      0.00                                   0.00                         FA

    7       Savings: Truist                                              0.00                      0.00                                   0.00                         FA

    8       Potential Counterclaim against Peach                         0.00                      0.00                                   0.00                    1.00
            State Federal Credit Union

   8        Assets Totals (Excluding unknown values)            $17,850.00                        $0.00                                  $0.00                   $1.00



Major Activities Affecting Case Closing:

                                8/16/21 - Investigate counterclaim that debtor has (by her account unknowingly) against PeachState Credit
                                Union.

                                10/2/2021 - Debtor's attorney provided information to determine there is no valid counterclaim pending or that
                                could be brought. Will NDR.

Initial Projected Date Of Final Report (TFR): 12/30/2021                        Current Projected Date Of Final Report (TFR):            12/30/2021


                      01/31/2022                                                                /s/Courtney M. Davis
                           Date                                                                 Courtney M. Davis
